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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )      Crim. No. 2:18-cr-122-JDL-1
                                              )
MAURICE DIGGINS                               )
                                              )
                       Defendant.             )

         GOVERNMENT’S MOTION IN LIMINE TO REDACT AND EXCLUDE
           HEARSAY STATEMENTS OF VICTIM IN MEDICAL RECORDS

       NOW COMES the United States of America, by and through the undersigned attorneys,

and hereby moves in limine to redact from the Southern Maine Health Care medical records, and

exclude any testimony of a treating physician, that a victim in this case told a medical

professional, in substance, that he was assaulted at a 7-Eleven “by three white guys.”

                                  RELEVANT BACKGROUD

       Defendant Maurice Diggins (“Defendant”) is on trial for allegedly conspiring with

another individual to commit a series of racially-motivated attacks in April 2018. The

Government expects that the evidence will show that the victim was assaulted at a 7-Eleven in

Biddeford by the Defendant and his co-defendant, Dusty Leo, and then subsequently treated for

his injuries at Southern Maine Health Care in Biddeford.

                                          ARGUMENT

              THE COURT SHOULD REDACT AND EXCLUDE HEARSAY
                STATEMENTS OF VICTIM IN MEDICAL RECORDS

        The Government anticipates that the Defendant will seek to admit into evidence medical

records from Southern Maine Health Care regarding the victim’s treatment following the alleged

assault at 7-Eleven. Those records contain statements allegedly made by the victim that he was

assaulted “by three white guys.” Southern Maine Health Care medical records, pp. 9, 24 and 52.
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The victim’s statements are hearsay and should be redacted from the medical records, and any

testimony be a treating physician regarding them should be excluded.

       Decisions regarding the admission or exclusion of evidence are committed to the sound

discretion of the district court and will not be reversed absent an abuse of discretion. United

States v. Ford, 22 F.3d 374, 381-82 (1st Cir. 1994); United States v. Rodriquez–Cortes, 949 F.2d

532, 540 (1st Cir. 1991); see also United States v. Green, 887 F.2d 25, 27 (1st Cir. 1989); United

States v. Griffin, 818 F.2d 97, 101–102 (1st Cir. 1987).

       Hearsay is any out-of-court statement that a party seeks to introduce as proof that what

the statement asserts is true. Fed. R. Evid. 801(c). Hearsay is inadmissible unless it fits within a

recognized exception. Fed. R. Evid. 802. “Hearsay within hearsay” is admissible only when

each level of hearsay would be individually admissible. Fed. R. Evid. 805.

       The Government anticipates that the Defendant will seek to admit the above-referenced

statements by the victim regarding the number of assailants through Federal Rule of Evidence

803(4), which excepts from the hearsay prohibition “[a] statements that (A) is made for—and is

reasonably pertinent to—medical diagnosis or treatment; and (B) describes medical history; past

or present symptoms or sensations; their inception; or their general cause.” The First Circuit has

articulated three requirements for the admission of out-of-court statements for purposes of

medical diagnosis or treatment: “(1) the statements must be made for purposes of diagnosis or

treatment (2) about (i) medical history (ii) or past or present symptoms, pain, or sensations or

(iii) about the inception or general character of the cause or external source thereof (3) insofar as

they are reasonably pertinent to diagnosis or treatment.” Bucci v. Essex Ins. Co., 393 F.3d 285,

298 (1st Cir. 2005); United States v. Hoffman, 2006 WL 3691487, No. 06-cr-66 (D. Me. Dec.

12, 2006). The victim’s statements in the medical records concerning the number of assailants
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are not pertinent to diagnosis or treatment. Accordingly, they are inadmissible and should be

redacted prior to introducing the records at trial. In addition, any testimony from a physician

regarding that statement should be excluded.

       The statement should likewise be redacted and the testimony excluded should the

defendant attempt to seek admission of the victim’s statement through Federal Rule of Evidence

803(6) (Records of a Regularly Conducted Activity), which provides for the admission of:

       A record of an act, event, condition, opinion, or diagnosis if:

               (A) the record was made at or near the time by--or from information transmitted

               by--someone with knowledge;

               (B) the record was kept in the course of a regularly conducted activity of a

               business, organization, occupation, or calling, whether or not for profit;

               (C) making the record was a regular practice of that activity;

               (D) all these conditions are shown by the testimony of the custodian or another

               qualified witness, or by a certification that complies with Rule 902(11) or (12) or

               with a statute permitting certification; and

               (E) the opponent does not show that the source of information or the method or

               circumstances of preparation indicate a lack of trustworthiness.

Rule 803(6) requires that information in a business record be transmitted by “someone with

knowledge” acting “in the course of a regularly conducted activity.” The Advisory Committee

Notes make clear that this encompasses only declarants-like nurses or doctors in the case of

hospitals-who report to the record-keeper as part of a regular business routine in which they are

participants. See Advisory Committee Notes to FRE 803(6) (“If, however, the supplier of the

information does not act in the regular course, an essential link is broken; the assurance of
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accuracy does not extend to the information itself, and the fact that it may be recorded with

scrupulous accuracy is of no avail. An illustration is the police report incorporating information

obtained from a bystander: the officer qualifies as acting in the regular course but the informant

does not.”).

       Where the declarant is a hospital patient, his relating of his own history is not part of a

“business” routine in which he is individually a regular participant. Petrocelli v. Gallison, 679

F.2d 286, 290 (1st Cir. 1982) (citing McCormick on Evidence § 313 at 731 (2d ed. 1972);

Cameron v. Otto Bock Orthopedic Industry, Inc., 43 F.3d 14, 16 (1st Cir. 1994); Neelon v.

Krueger (2015 WL 13677813, No. 12-cv-11198-IT (D. Mass. Sept. 8, 2015); Bradley v.

Sugarbaker, 891 F.3d 29, 35 (1st Cir. 2018)(FRE 803(6) does not extend to “statement[s] to [a]

business by a stranger to it;” “‘outsider’ information, where offered for its truth [is inadmissible]

unless some other hearsay exception applies to the outsider's own statement.”); U.S. Bank Trust,

N.A. as Trustee for LSF9 master Participation Trust v. Jones, 925 F.3d 534 (1st Cir 2019)(First

Circuit has rejected the admission of business records where third-party statements contained in

business records were made “by a stranger to it”. (citing Bradley, 891 F.3d at 55.)

       To be clear, the government does not object to the Defendant’s use of the statement in

cross-examination of the victim pursuant to Federal Rule of Evidence 613 (Witness’s Prior

Statements). However, the Defendant should not otherwise be permitted to introduce these

hearsay statements as substantive evidence through the admission of the victim’s medical

records.
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                                         Respectfully submitted,

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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF MAINE

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )       Crim. No. 2:18-cr-122-JDL-1
                                             )
MAURICE DIGGINS                              )
                                             )
                      Defendant.             )

                                CERTIFICATE OF SERVICE

        I hereby certify that on February 28, 2020, I filed the GOVERNMENT’S MOTION IN
LIMINE TO EXCLUDE HEARSAY STATEMENTS OF VICTIM IN MEDICAL
RECORDS with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the registered participants as identified on the Notice of Electronic Filing (NEF).


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